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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                    Holding a Criminal Term

                            Grand Jury Sworn in on May 3, 2018

UNITED STATES OF AMERICA                    :      CRIMINAL NO.
                                            :
               v.                           :      GRAND JURY ORIGINAL
                                            :
ETHAN MOYE-GORDON,                          :      VIOLATION:
                                            :      18 U.S.C. § 1201(a)(1)
               Defendant.                   :      (Kidnapping)

                                      INDICTMENT

       The Grand Jury charges that:

                                         COUNT ONE

       On or about November 11, 2018, within the District of Columbia, the State of Maryland,

and elsewhere, ETHAN MOYE-GORDON, did unlawfully and willfully seize, confine, kidnap,

abduct, carry away and hold Carlos Santos for money, and, in committing or in furtherance of the

commission of the offense, Carlos Santos, was willfully transported and traveled in interstate

commerce from the District of Columbia to the State of Maryland and back to the District of

Columbia.

       (Kidnapping, in violation of Title 18, United States Code, Sections 1201(a)(1))

                                            A TRUE BILL:



                                            FOREPERSON.



Attorney of the United States in
and for the District of Columbia.
